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                          EXHIBIT
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                    WARNER MEDIA, LLC U.S. SEVERANCE PLAN


    INTRODUCTION         Effective August 1, 2022, Warner Media, LLC (the “Company”)
                         establishes this Warner Media, LLC U.S. Severance Plan (the
                         “Plan”), which shall provide severance and certain other benefits to
                         eligible Regular Employees of the Company and the Participating
                         Affiliates which are listed upon Appendix A of the Plan (or any
                         amendment to such Appendix) whose employment is terminated
                         under the terms and conditions set forth herein. This document
                         constitutes both the Plan and the Summary Plan Description for the
                         Plan and is effective August 1, 2022; this document supersedes and
                         replaces any and all regular severance plans and arrangements
                         which have been established at the Company or at any of the
                         Participating Affiliates with the exception of severance
                         arrangements under written employment or similar agreements
                         executed between eligible Regular Employees and the Company
                         or a Participating Affiliate. The Company and all Participating
                         Affiliates shall collectively be referred to as “Participating
                         Employers”. The entity which employs a Regular Employee at the
                         time of his or her termination of employment shall be referred to the
                         Regular Employee’s Participating Employer.

                         Regular Employees are those U.S.-based employees of a
                         Participating Employer who are not represented by a union that has
                         entered into a collective bargaining agreement with a Participating
                         Employer and are classified by the Participating Employer as regular
                         employees, either full- or part-time, working a regularly scheduled
                         workweek of twenty (20) hours or more, excluding individuals
                         classified by a Participating Employer as temporary employees
                         (including interns), project employees, leased employees and
                         independent contractors. For all purposes under this Plan, an
                         individual classified by a Participating Employer as an independent
                         contractor of the Participating Employer or any individual who
                         renders services for or to a Participating Employer while on the
                         payroll of an entity other than a Participating Employer shall not be
                         deemed to be a Regular Employee even if such individual is deemed
                         (whether retroactively or otherwise and whether by operation of law
                         or otherwise) to be a common law employee of a Participating
                         Employer for any other purpose.

                         The Executive Vice President, Chief Human Resources Officer of the
                         Company shall appoint the administrator of the Plan (the
                         “Administrator”). The Administrator shall serve at the pleasure of
                         the Executive Vice President, Chief Human Resources Office and
                         may be removed by the Executive Vice President, Chief Human
                         Resources at any time. Any person serving as Administrator may
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                         resign at any time by giving notice to the Executive Vice President,
                         Chief Human Resourcee Officer. Any such resignation shall take
                         effect at the date of receipt of such notice or at any later date specified
                         therein; and, unless otherwise specified therein, the acceptance of
                         such resignation shall not be necessary to make it effective.

                         The Administrator shall be the administrator of the Plan for all
                         fiduciary functions of the Plan, within the meaning of Section
                         3(16)(A) of the Employee Retirement Income Security Act of 1974,
                         as amended (“ERISA”). The Administrator shall have all powers
                         necessary to administer the Plan except to the extent that any such
                         powers are vested in any other fiduciary by the Plan or by the
                         Company.

                         The Administrator (and his or her designee) may from time to time
                         establish rules for the administration of the Plan. The Administrator,
                         along with, in the case of claim appeals, the Administrative
                         Committee established and appointed by the Board of Managers (the
                         “Board”) (the “Administrative Committee”), shall have exclusive
                         authority and sole and absolute discretion to (i) interpret the Plan, (ii)
                         determine eligibility for payments and the amount of such payments,
                         (iii) make any factual or legal determinations, (iv) resolve factual or
                         legal disputes and (v) decide all matters arising in connection with
                         the interpretation, administration and operation of the Plan or the
                         determination of eligibility for payments or the amount of such
                         payments. All rules, interpretations and decisions shall be applied in
                         a uniform manner to all employees similarly situated and shall be
                         conclusive and binding on the Plan participants and their
                         beneficiaries to the extent permitted by law.

                         The continuance of the Plan is entirely voluntary and is not a
                         contractual obligation of the Company or any Participating
                         Employer. The Company reserves the right, by action of the
                         Company’s Chief Executive Officer, Chief Human Resources
                         Officer, Senior Vice President, Human Resources responsible for
                         compensation, or the Administrator, to modify, amend, suspend
                         or terminate the Plan in whole or in part at any time and for any
                         reason.

    Compliance with      The Plan is intended to be exempt from or comply with Section 409A
    Section 409A         (“Section 409A”) of the Internal Revenue Code of 1986, as amended
                         (the “Code”), and, to the fullest extent possible, will be interpreted in
                         a manner intended to be exempt from or comply with Section 409A.
                         If any payments or benefits due to you hereunder could cause
                         application of an accelerated or additional tax under Section 409A,
                         such payments or other benefits shall be deferred if deferral will
                         make such payment or other benefits compliant under Section 409A,

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                         or otherwise such payment or other benefits shall be restructured, to
                         the extent possible, in a manner, determined in good faith by the
                         Administrator, that does not cause such an accelerated or additional
                         tax. Without limiting the generality of the foregoing, if, at the time
                         of your “separation from service” (within the meaning of Section
                         409A), (i) you shall be a “specified employee” (within the meaning
                         of Section 409A) and (ii) the Administrator shall make a good faith
                         determination that an amount payable hereunder constitutes
                         “deferred compensation” (within the meaning of Section 409A) the
                         payment of which is required to be delayed pursuant to the six-month
                         delay rule set forth in Section 409A in order to avoid taxes or
                         penalties under Section 409A, then your Participating Employer shall
                         not pay such amount on the otherwise scheduled payment date but
                         shall instead accumulate such amount and pay it on the first business
                         day after such six-month period. To the extent required by Section
                         409A, any payment or benefit that would be considered deferred
                         compensation (within the meaning of Section 409A), payable or
                         provided upon an employment termination shall only be paid or
                         provided to you upon your separation from service (within the
                         meaning of Section 409A). To the extent any reimbursements or in-
                         kind benefits due to you under the Plan constitute deferred
                         compensation (within the meaning of Section 409A), any such
                         reimbursements or in-kind benefits will be paid to you in a manner
                         consistent with Treas. Reg. Section 1.409A-3(i)(1)(iv). Each
                         payment made under the Plan shall be designated as a “separate
                         payment” (within the meaning of Section 409A). The Administrator
                         shall consult with you in good faith regarding the implementation of
                         the provisions of this section; provided that neither the Administrator,
                         the Company; any Participating Employer nor any of their employees
                         or representatives shall have any liability to you with respect thereto.

                         To the extent the Administrator determines at the time of the
                         separation of service (within the meaning of Section 409A), any
                         payments are, or reasonably could be considered, deferred
                         compensation (within the meaning of Section 409A), payments will
                         not be subject to any acceleration election or any acceleration in
                         connection with any subsequent employment, and the payment
                         schedules shall not be altered in the event you are reemployed by any
                         Participating Employer or an affiliate thereof for any period of time.




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                      I.     ELIGIBLE TERMINATIONS UNDER THE SEVERANCE
                             PLAN

ELIGIBILITY           If you are a Regular Employee of a Participating Employer who is not a
                      party to an employment or similar written agreement with the
                      Participating Employer or a Related Company which addresses
                      severance, you will be eligible for severance pay as set forth herein if
                      you are notified that your employment will be terminated AND your
                      employment is terminated on or after May 15, 2021 for one of the
                      following two reasons:

                      A. Participating Employer advises you that your employment is being
                      terminated for reasons related to your job performance, including but not
                      limited to excessive absenteeism, or your failure to meet your
                      Participating Employer’s reasonable performance expectations
                      (“Termination for Performance”); or

                      B. Participating Employer advises you that your employment is being
                      terminated because of the elimination of a department, reduction in force,
                      reorganization, outsourcing, changes in operation, material change in job
                      requirements or related reasons or another reason other than your job
                      performance, as determined by your Participating Employer in its sole
                      discretion (“Job Elimination or Other Involuntary Not for Cause
                      Termination”).

                      If you are a Regular Employee who is a party to an employment or
                      similar written agreement with the Participating Employer or a Related
                      Company which addresses severance and if the amount of severance pay
                      that you are entitled to under this Plan is greater than the amount of
                      severance pay you are entitled to under the written agreement, or if your
                      contract term has ended and you continue to work as at-will employee
                      and the agreement states that you will be eligible to participate in the then
                      existing severance plan, you shall be eligible to participate in this Plan
                      provided, the separation agreement and general release you sign to fulfill
                      the Release Requirement (as defined herein) must expressly waive your
                      rights to any severance pay you are entitled to under the terms of the
                      employment or similar written agreement, and you otherwise meet all of
                      the criteria in this Plan for participation herein (“Executive
                      Termination”)

                      AND you:

                           1. work until the date selected by your Participating Employer as
                              your last day of work (“Employment End Date”) unless you




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                             complete your transition work earlier and your Participating
                             Employer permits you to terminate employment earlier;
                          2. have not engaged in conduct which could give rise to your
                             employment being terminated by your Participating Employer
                             for Cause (as defined herein);
                          3. satisfy the Release Requirement (as defined herein).

                      For purposes of this Plan, a termination which can be categorized as for
                      “Cause” shall be an involuntary termination which is determined by your
                      Participating Employer in good-faith to be for one of the following
                      reasons: your (a) conviction (treating a nolo contendere plea as a
                      conviction) of a felony (whether or not any right to appeal has been or
                      may be exercised), (b) willful failure or refusal without proper cause to
                      perform your duties with the Company (other than any such failure
                      resulting from your incapacity due to physical or mental impairment), (c)
                      misappropriation, embezzlement or reckless or willful destruction of
                      property of the Company, its parents or its affiliates (“AT&T Group”),
                      (d) breach of any statutory or common law duty of loyalty to the AT&T
                      Group, (e) intentional and improper conduct materially prejudicial to the
                      business of the AT&T Group, or (f) material breach of any Company
                      Policy.

                      You will not be eligible for severance pay as described herein if: the
                      business or a portion of the business of your Participating Employer is:
                               i. sold in whole or in part to another corporation, company or
                                    individual;
                              ii.   merged or consolidated with another corporation, company
                                    or individual or is part of a similar corporate transaction; or
                             iii.   outsourced to another corporation, company or individual;

                                   AND

                             iv.    you are offered employment with the purchaser or
                                    surviving business or the corporation, company or
                                    individual to which the business is outsourced (whether or
                                    not you accept any such position with the purchaser,
                                    surviving business or other company or individual) in a
                                    position within 50 miles of your current primary worksite
                                    providing a rate of compensation at least equal to your
                                    compensation immediately prior to the occurrence.

RELEASE               You will not receive severance pay and other benefits under the Plan
REQUIREMENT           unless you satisfy the following Release Requirement: you execute a
                      separation agreement and general release in such form(s) acceptable to

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                      your Participating Employer, in its sole discretion (the “General
                      Release”), under which, among other things, you release and discharge
                      the Company, Participating Affiliates, Related Companies, related
                      entities and persons from all claims and liabilities (unless such release is
                      prohibited by applicable law) for any period up to the date you execute
                      the General Release, including but not limited to all claims and liabilities
                      relating to your employment with your Participating Employer and/or the
                      termination of your employment, and the General Release becomes
                      effective and irrevocable by its terms within sixty (60) days following
                      your Employment End Date. For purposes of clarity, your Participating
                      Employer will not pay or continue to pay severance pay or any other
                      benefits under this Plan unless you satisfy the Release Requirement.




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                             SEVERANCE PAY FOR REGULAR EMPLOYEES

SEVERANCE PAY         Service calculations herein shall be based on your actual Employment
UNDER THE PLAN        End Date in the event that your Employment End Date changes from a
                      previously designated date. For the avoidance of doubt, the Employment
                      End Date follows the end of any notice pay period.

                      If you are eligible for severance pay under the terms of this Plan, as
                      determined by your Participating Employer, you will receive severance
                      pay in an amount equal to two weeks of your salary (“Base Severance”),
                      PLUS an amount computed pursuant to Section A. or B. below, as the
                      case may be.

                         A. Termination For Performance

                      For Termination for Performance, an additional one week of your salary
                      for each year of Continuous Service (as defined below) that you have
                      completed on the date of your termination of employment; provided,
                      however, if you have completed at least ten (10) years of Continuous
                      Service on your Employment End Date, you will receive an additional
                      one and one-half weeks salary for each year of Continuous Service.

                      The maximum amount of severance you will be eligible to receive,
                      inclusive of the Base Severance, is equal to 35 weeks salary.

                         B. Job Elimination and Other Involuntary Not for Cause
                            Termination; Executive Termination

                      For a Job Elimination or Other Not for Cause Involuntary Termination
                      or an Executive Termination, an additional two weeks of your salary for
                      each year of Continuous Service (as defined below) that you have
                      completed on the date of your termination of employment; provided,
                      however, if you have completed at least ten (10) years of Continuous
                      Service on your Employment End Date, you will receive an additional
                      three weeks salary for each year of Continuous Service, provided that
                      there is a minimum level of severance pay for Job Elimination, or Other
                      Involuntary Not for Cause Terminations and Executive Termination as
                      follows:

                      Level or Equivalent               Minimum Severance Pay
                      Vice President or above           26 weeks
                      Director                          12 weeks
                      Other Employees                    2 weeks




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                      The maximum amount of severance pay you will be eligible to receive
                      for Job Elimination or Other Involuntary Not for Cause Terminations and
                      Executive Non-Renewal is equal to 52 weeks salary, inclusive of the
                      Base Severance, unless you have accrued at least seventeen (17) years of
                      Continuous Service as of January 1, 2021, in which case the maximum
                      amount of severance pay you will be eligible to receive is equal to 104
                      weeks salary, inclusive of the Base Severance.

CONTINUOUS            Continuous Service, for purposes of this Plan, means time spent on the
SERVICE               regular payroll as a Regular Employee (full- or part-time) of your
                      Participating Employer, as a Regular Employee of an entity more than
                      50% owned, directly or indirectly, by the Company or any other
                      Participating Employer (a “Related Company”), or as a Regular
                      Employee of The CW Television Network. For all purposes of this Plan,
                      a Regular Employee shall be defined as such term is used by the
                      Company, Related Company or The CW Television Network, and
                      Continuous Service shall include any paid leaves of absence, vacation,
                      short-term disability and sabbatical, but shall exclude any unpaid leaves
                      of absence, long-term disability or time on your Participating Employer’s
                      or a Related Company’s payroll for payment of severance. In all cases,
                      the determination of the service period shall be made in the sole
                      discretion of the applicable entity described above.

                      However, if you are a Project Employee (as defined in a Participating
                      Employer’s Employee Handbook) and become a Regular Employee (a)
                      immediately following the end of the project period, (b) at any time
                      during the project period, or (c) during a period of up to one year
                      following the end of the project period, service during the project period
                      will be counted as Continuous Service. If you are an employee classified
                      by your Participating Employer as a temporary employee, leased
                      employee or independent contractor, and you become a Regular
                      Employee, Continuous Service will begin on the date on which you
                      become a Regular Employee.

                      For purposes of this Plan, any portion of a year of Continuous Service
                      equal to or greater than half a year (183 days) is counted as one year of
                      service. Any portion of a year of Continuous Service of less than half a
                      year will not be counted. For example, a Regular Employee with 10
                      years, 183 days of service, will be credited with 11 years of service in
                      calculating severance pay. A Regular Employee with 10 years, 182 days
                      of service, will be credited with 10 years of service in calculating
                      severance pay.

                      You will forfeit credit for any prior Continuous Service if you have a
                      break in service with your Participating Employer or a Related Company
                      of at least one year.


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DETERMINATION        A week’s salary shall mean your regular straight time weekly rate of pay
OF A WEEK’S          at the time you are notified that your employment is being terminated
SALARY               (including salary reduction contributions made by your Participating
                     Employer on your behalf to any employee benefit plan pursuant to
                     Section 125, 132(f) or 401(k) of the Code or to any nonqualified defined
                     contribution or deferred compensation plan as reflected on your
                     Participating Employer’s payroll records). It does not include bonuses,
                     overtime pay (unless such overtime is part of your regularly scheduled
                     work hours as explained in the following sentence), or other additional
                     and/or variable compensation. A week’s salary for a Regular Employee
                     in a part-time status is calculated by averaging the number of hours
                     actually worked per week during the last 26 weeks of work prior to being
                     notified that his/her employment is being terminated and multiplying that
                     by his/her current rate of pay.

EMPLOYMENT           Subject to your satisfaction of the Release Requirement, severance pay
END DATE/TIMING      under this Plan will be paid in weekly installments commencing on the
OF SEVERANCE         next regular Participating Employer payroll date occurring after the
PAYMENTS             Employment End Date (as defined above); provided, however, if you are
                     entitled under this Plan to more than fifty-two (52) weeks of severance
                     pay (not including any bonus), then any severance pay in excess of fifty–
                     two (52) weeks shall not be payable in installments but instead shall be
                     payable in a lump sum and will be paid within thirty (30) days of the last
                     bi-weekly installment of severance pay; further provided, however, that
                     all severance pay under this Plan will be paid in a lump sum only in the
                     limited circumstance in which:

                           a.    you are a foreign national who has been granted a visa
                                permitting you to temporarily reside in the United States as a
                                result of your employment with a Participating Employer;

                           b.   the termination of your employment with the Participating
                                Employer will result in the immediate loss of your
                                authorization to reside in the United States;

                           c.   due to the absence of a tax reciprocity agreement between the
                                United States and your country of citizenship, you would be
                                subject to double taxation if the severance pay is not paid in
                                a lump sum; and

                           d.   the Administrator determines, based on the proven facts and
                                circumstances of which the Administrator is aware at the time
                                of the termination of your employment, your departure from
                                the United States is expected to be imminent (for example, as
                                may be the case with an L-1 visa holder).



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TAX                  Required tax withholdings will be deducted from all payments.
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EDUCATION            Education reimbursements will be paid to you for any class you are
REIMBURSEMENTS       enrolled in at the time you are notified of the termination of your
                     employment, provided the class meets the other requirements of your
                     Participating Employer’s reimbursement policy for such classes.

VACATION             Vacation accrual, if applicable, will terminate on your Employment End
                     Date as designated by your Participating Employer.

EMPLOYEE LOANS       If, at any time prior to the employment end date, you have an outstanding
                     loan from your Participating Employer or any Related Company, the
                     amount of your severance pay (including notice pay) will be set off
                     against the amount of the outstanding balance of such loan to the extent
                     permitted under Section 409A.

REEMPLOYMENT/        If you are rehired as a Regular Employee by either your Participating
REENGAGEMENT         Employer, by a Related Company, or by the parent of either such entity,
                     as reemployment or rehire is defined by such entity (“Rehired”), you
                     must notify Corporate Human Resources of your new employment, and
                     you will be transferred to the appropriate Participating Employer
                     company payroll. The balance of any remaining severance pay will be
                     forfeited.

                     If you are engaged to provide or render any services to your Participating
                     Employer, a Related Company, or by the parent of either such entity, that
                     are the same or similar in nature to the duties your performed in your
                     position of employment at the time your employment was terminated
                     (“Reengaged”), you must notify Corporate Human Resources of the
                     services and the balance of any remaining severance pay will be
                     forfeited.

                     If you are Rehired after having received severance pay under this Plan
                     or any predecessor plan, and you do not have a break in service of at
                     least one year prior to being Rehired and therefore did not experience a
                     break in Continuous Service, if you later become entitled to receive
                     severance under this Plan again, then any severance pay previously
                     paid to you will be deducted from any future severance pay you
                     become entitled to under the terms of this Plan to avoid your receiving
                     duplicate severance pay on account of a single period of Continuous
                     Service.

OPERATION OF         All rights of Regular Employees to severance pay in connection with a
PLAN                 termination of employment by a Participating Employer shall be
                     governed by this Plan. In the event that the terms of this Plan are
                     inconsistent with other documents or other written or verbal

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                     communications provided by a Participating Employer, a Related
                     Company or its representatives, the terms of this Plan, as amended from
                     time to time, shall govern in all cases.

                     You are not entitled to any severance pay without satisfying the
                     Release Requirement.

                     Regular Employees eligible to receive severance pay under the terms of
                     this Plan, whether or not they elect to receive such benefits by satisfying
                     the Release Requirement, will not be eligible to receive any severance
                     pay or similar benefits under any other plan or policy sponsored by their
                     Participating Employer or any Related Company, and any such other
                     plan or policy shall be deemed superseded with respect to any such
                     employee. If, for any reason, a Regular Employee becomes entitled to
                     or receives any other severance, separation, notice or termination
                     payments on account of his or her employment or termination of
                     employment with a Participating Employer, a Related Company or any
                     affiliate of the Company, including, for example, any payments required
                     to be paid under any Federal, State or local law (including, without
                     limitation, the Worker Adjustment and Retraining Notification Act) or
                     pursuant to any agreement (except unemployment benefits payable in
                     accordance with state law and payment for accrued but unused vacation),
                     his or her benefits under the Plan will be reduced by the amount of such
                     other payments paid or payable. A Regular Employee must notify the
                     Administrator if he or she receives or is claiming to be entitled to receive
                     any such payment(s).

                     If you die prior to receiving all of your severance pay, the balance of any
                     remaining severance pay will be paid to your estate in a lump sum as
                     soon as administratively practicable, but in no event later than 90 days
                     following the date the Company receives notice of your death and
                     appropriate documentation from your estate which allows payment to the
                     estate, the sufficiency of which shall be determined in the sole discretion
                     of the Company; provided, however, if you have not met the Release
                     Requirement prior to your death, your estate shall not receive the unpaid
                     balance of any remaining notice and severance pay unless the General
                     Release is signed by the executor of the estate or other authorized
                     representative with full authority to enter into the General Release within
                     the prescribed time period (60 days following your employment end
                     date).

                     If you terminate from employment and it is subsequently determined
                     that, by virtue of conduct or circumstances, arising either before or after
                     the termination, you engaged in conduct that would have disqualified you
                     from receiving benefits under this Plan, then you will not be eligible for



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                     benefits hereunder and any benefits already received by you must be
                     repaid.

TAX                   Required tax withholdings will be deducted from all payments.
WITHHOLDINGS

OTHER BENEFITS        Subject to your satisfaction of the Release Requirement, for the period
                      of time that you are receiving weekly severance payments under the
                      Plan, you remain eligible for the same basic life insurance and medical
                      and dental benefits as Regular Employees, subject to the terms of those
                      benefit plans then in effect, the terms of your Participating Employer’s
                      applicable policies and all applicable legal requirements. Accordingly,
                      if you are eligible for more than fifty-two (52) weeks of severance pay
                      under this Plan, the Regular Employee basic life insurance, medical and
                      dental benefits will not be extended beyond 52 weeks. Your share of the
                      applicable premiums for these benefits will be deducted from your
                      severance pay. (Note: You cannot contribute to any 401(k) plan
                      sponsored by your Participating Employer or a Related Company or any
                      nonqualified savings plan after you stop performing services, including
                      during any notification period).

                      You should be aware that under the terms of the WarnerMedia
                      Medical Program (the “Program”), if you are receiving weekly
                      severance payments and you or your covered dependents are
                      eligible for Medicare, (the Program is designed to coordinate
                      benefits with Medicare.       There are Medicare enrollment
                      requirements. If you have any questions, please review the Medical
                      Summary Plan description and contact the AT&T Benefits Center
                      at (877) 722-0020.

                      With respect to restricted stock units that you have been granted, rights
                      and responsibilities related to such grants are contained in the applicable
                      restricted stock plan (including, but not limited to the AT&T Inc. 2018
                      Incentive Plan), grant agreements and related documents.

                      You will not continue to receive equity-based awards following the
                      Employment End Date. (You will not continue to receive awards of
                      stock options or other equity-based awards during the period you receive
                      severance payments.)

OUTPLACEMENT          Subject to your satisfaction of the Release Requirement, if you receive
ASSISTANCE            severance pay, you will also be eligible for outplacement assistance in
                      an amount based on your level as determined by your Participating
                      Employer and from a vendor selected by your Participating Employer.
                      Such assistance may commence as early as thirty (30) days prior to your
                      Employment End Date but not later than six (6) months after your
                      Employment End Date. This benefit cannot be substituted for any

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                      additional cash severance, nor will any additional severance be payable
                      to you in the event that all outplacement assistance is not utilized by you.

                                         YOUR RIGHTS UNDER ERISA

                      The benefits provided to you by the Warner Media, LLC U.S. Severance
                      Plan for Regular Employees are covered by ERISA. The law does not
                      require the Company to provide these benefits, but it does set certain
                      standards for any that are offered.

                      Specifically, ERISA entitles you as a Plan participant to receive
                      information about your Plan and benefits, enforce your rights, prudent
                      action by Plan fiduciaries, and receive assistance with questions, as more
                      fully described in this Section.

                      Receiving Information About the Plan

                      As a participant, you can:

                      •   Examine without charge at the Administrator’s office and at other
                          specified locations, such as worksites, all Plan documents (such as
                          the summary plan description) and copies of all documents filed with
                          the U.S. Department of Labor (such as annual reports (Form 5500
                          series) and available at the Public Disclosure Room of the Employee
                          Benefit Security Administration. The Administrator will make these
                          documents available, and you may make an appointment to examine
                          them in the Corporate Human Resources department at any time
                          during business hours.

                      •   Obtain copies of all Plan documents and other pertinent Plan
                          information from the Administrator by requesting these materials in
                          writing. (The Company reserves the right to make a reasonable
                          charge for copying any documents you request.)

                      •   You do not need to request the summary report; all Participants are
                          provided with this information once a year.

                      Claims for Benefits

                      In order to receive any benefits to which you are entitled under the Plan,
                      you typically will not need to file a claim for benefits. However, in the
                      event you believe you may be entitled to benefits under the Plan which
                      you have not received, you must file a claim for benefits within the
                      earlier of (a) one year from the later of your employment end date as
                      designated by your Participating Employer or the end of the last Floating
                      Assignment or (b) one year after you first knew or should have known



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                      that you had a claim for a benefit under the Plan. Your claim must be in
                      writing.

                      The law allows a reasonable amount of time for the Administrator to
                      evaluate a claim and to decide whether to pay benefits based on
                      information contained in the written claim. However, you have certain
                      rights under ERISA if you file a claim for benefits as follows:

                      Timing of Administrator’s Decision

                      Within ninety (90) days after you have filed a claim for benefits, you
                      must be notified whether or not you will receive the benefits. Under
                      special circumstances, the Administrator may require an additional
                      period of not more than ninety (90) days to review your claim. If that
                      happens, you will receive a written notice of that fact, which will also
                      indicate the special circumstances requiring the extension of time and
                      the date by which the Administrator expects to make a determination
                      with respect to the claim. If the extension is required due to your failure
                      to submit information necessary to decide the claim, the period for
                      making the determination will be tolled from the date on which the
                      extension notice is sent until the date on which you respond to the Plan’s
                      request for information. If your claim is denied, the Administrator must
                      notify you in writing and explain in detail why it was denied. If you are
                      not notified (of the denial or an extension) within ninety (90) days from
                      the date you notify the Administrator, you may request a review of the
                      application as if the claim had been denied.

                      If a Claim is Denied

                      If your claim has been denied, or an adverse benefit determination has
                      been made, you may request that the Administrative Committee review
                      the denial. The request must be in writing and must be made within sixty
                      (60) days after written notification of denial or within sixty (60) days
                      following the deadline for the Administrator to respond if no response is
                      received by you. In connection with this request, you (or your duly
                      authorized representative) may (i) be provided, upon written request and
                      free of charge, with reasonable access to (and copies of) all documents,
                      records, and other information relevant to the claim; and (ii) submit to
                      the Administrative Committee written comments, documents, records,
                      and other information related to the claim.

                      The review by the Administrative Committee will take into account all
                      comments, documents, records, and other information you submit
                      relating to the claim as well as any records the Administrative
                      Committee deems relevant to the review. The Administrative
                      Committee will make a final written decision on a claim review, in most
                      cases within sixty (60) days after receipt of a request for a review. In

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                      some cases, the claim may take more time to review, and an additional
                      processing period of up to sixty (60) days may be required. If that
                      happens, you will receive a written notice of that fact, which will also
                      indicate the special circumstances requiring the extension of time and
                      the date by which the Administrative Committee expects to make a
                      determination with respect to the claim. If the extension is required due
                      to your failure to submit information necessary to decide the claim, the
                      period for making the determination will be tolled from the date on
                      which the extension notice is sent to you until the date on which you
                      respond to the Plan’s request for information.

                      The decision on the claim for review will be communicated to you in
                      writing. If an adverse benefit determination is made with respect to the
                      claim, the notice will include (i) the specific reason(s) for any adverse
                      benefit determination, with references to the specific Plan provisions on
                      which the determination is based; (ii) a statement that you are entitled to
                      receive, upon request and free of charge, reasonable access to (and
                      copies of) all documents, records and other information relevant to the
                      claim; and (iii) a statement of you right to bring a civil action under
                      Section 502(a) of ERISA. The decision of the Administrative
                      Committee is final and binding on all parties.

                      Please keep in mind that these claims and appeals procedures must be
                      exhausted before you can bring a legal action to recover benefits, to
                      enforce rights under the terms of the Plan or to clarify the right to future
                      benefits under the terms of the Plan. No action may be commenced at
                      all unless commenced no later than 12 months following a final decision
                      on your claim for benefits under the Plan, or 12 months following the
                      last date on which a final decision should have been issued pursuant to
                      the terms of the Plan, should you not receive a final decision. This 12-
                      month statute of limitations on suits for all benefits shall apply in any
                      forum where you may initiate such a suit.

                      Obligations of Fiduciaries

                      In addition to creating rights for Plan participants, ERISA imposes
                      obligations on the individuals responsible for the operation of an
                      employee benefit plan. These individuals, referred to as fiduciaries
                      under the law, have an obligation to administer the Plan prudently and
                      in accordance with its terms and to act in the interest of the Plan
                      participants and their beneficiaries.

                      The law provides that fiduciaries who violate ERISA may be removed
                      and required to make good any losses they have caused the Plan.

                      Obligations of Employers


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                      Many of the specific obligations ERISA imposes on employers are
                      intended to make certain that all Plan participants are fully informed of
                      their rights to benefits and the nature and extent of those benefits. No
                      one may fire you or discriminate against you in any way to prevent you
                      from receiving benefits or exercising your rights under ERISA.

                      Appointments

                      The Administrative Committee may elect a secretary who may, but need
                      not, be one of its number and may retain such counsel, agents, experts,
                      and clerical and accounting services as it may require in carrying out the
                      provisions of the Plan.

                      The Administrator may retain such counsel, agents, experts and clerical
                      and accounting services as he or she may require in carrying out the
                      functions under the Plan.

                      Indemnification

                      The Company shall, to the fullest extent permitted by law, indemnify
                      each director or officer of all Participating Employers (including their
                      representatives) and the Administrator with respect to claims relating to
                      any Participating Employer and each individual serving as
                      Administrator, with respect to such claims, against expenses (including
                      attorneys’ fees), judgments, fines and amounts paid in settlement,
                      actually and reasonably incurred by such person in connection with any
                      threatened, pending or actual suit, action or proceeding (whether civil,
                      criminal, administrative or investigative in nature or otherwise) in which
                      such person may be involved by reason of the fact that he or she was
                      serving the Plan in any capacity or serving as Administrator.

                      Provisions for Legal Action

                      ERISA specifically provides for circumstances under which you can
                      enforce your rights as a Plan participant.

                      •   If you are denied a welfare benefit to which you believe you may be
                          entitled or your claim is ignored, in full or in part, you have a right
                          to file suit in a federal or state court.

                      •   If you are discriminated against for asserting your rights, you have a
                          right to seek assistance from the U.S. Department of Labor or to file
                          suit, in federal court.

                      •   If you submit a written request for copies of any Plan documents or
                          other Plan information to which you are entitled under ERISA and
                          you do not receive those materials within 30 days of your request,
                          you may file suit in a federal court. If a violation exists, the court
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                         may require the Administrator to provide the material and pay you
                         up to $110 for each day’s delay. This provision does not apply,
                         however, if the requested materials were not sent to you because of
                         reasons beyond the control of the Administrator.

                      In these circumstances, the court will decide who should pay court costs
                      and legal fees. In other words, if you are successful, the court may order
                      the party you have sued to pay these costs and fees. But if you lose, the
                      court may order you to pay the costs and fees (for example, if the court
                      finds that your claim is frivolous).

                      If it should ever become necessary for you to take legal action to enforce
                      your rights under ERISA or the terms of the Plan, legal process may be
                      served on the Administrator, Warner Media, LLC, 30 Hudson Yards,
                      New York, New York 10001. Legal process may also be served on the
                      General Counsel, Warner Media, LLC, 30 Hudson Yards, New York,
                      New York 10001.

                      A Final Word About Your Rights

                      Your Participating Employer encourages you to contact the
                      Administrator if you have any questions about the foregoing statements
                      or about the Plan or your rights under ERISA, or you may contact the
                      nearest office of the Employee Benefits Security Administration, U.S.
                      Department of Labor, listed in your telephone directory or the Division
                      of Technical Assistance and Inquiries, Employee Benefits Security
                      Administration, U.S. Department of Labor, 200 Constitution Avenue
                      N.W., Washington, D.C. 20210. You can also contact them if you need
                      assistance in obtaining documents from the Administrator. You may
                      also obtain certain publications about your rights and responsibilities
                      under ERISA by calling the publications hotline of the Employee
                      Benefits Security Administration.




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                                   PLAN ADMINISTRATION AND OTHER
                                      IMPORTANT INFORMATION

                      Plan Sponsor

                      The Sponsor of the Plan is Warner Media, LLC

                      Employer:

                      Warner Media, LLC

                      Employer Identification Number

                      The employer identification number assigned by the Internal Revenue
                      Service to Warner Media, LLC is XX-XXXXXXX.

                      Financial Records

                      Warner Media, LLC maintains financial records of the Plan based on a
                      Plan year that ends on the date shown below. All financial records are
                      maintained by Warner Media, LLC at the following address:

                                 Administrator
                                 Warner Media, LLC
                                 30 Hudson Yards
                                 New York, NY 10001

                          Plan No.             Plan Year Ends
                            513                 December 31

                      Plan Contact

                      Your primary contact for all questions relating to the Plan is:

                                 The Administrator for the Warner Media, LLC U.S.
                                 Severance Plan
                                 c/o Human Resources
                                 Warner Media, LLC
                                 30 Hudson Yards
                                 New York, NY 10001
                                 (212) 484-8438

                      General

                      All payments made during any notice period and severance payments
                      made under the Plan are paid out of the general assets of the Company.



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                      No employee or representative of the Company or any affiliate is
                      authorized to modify, add to or subtract from these terms and conditions
                      except in accordance with the amendment and termination procedure
                      described in the Plan. The Plan is intended to fall within the definition
                      of an “employee welfare benefit plan” under Section 3(1) of ERISA.
                      The provisions of the Plan shall be construed, regulated and
                      administered according to the provisions of ERISA, and to the extent not
                      inconsistent therewith or preempted thereby, in accordance with the laws
                      of the State of New York.

                      Other Benefits

                      If you receive any benefits under the Plan, you will not be entitled to
                      receive any other severance, separation, notice or termination payments
                      or other remuneration on account of your employment with your
                      Participating Employer under any other plan, policy, program or
                      agreement. If, for any reason, you become entitled to or receive any
                      other severance, separation, notice or termination payments on account
                      of your employment or termination of employment with your
                      Participating Employer, including, for example, any payments required
                      to be paid to you under any Federal, State or local law (including,
                      without limitation, the Worker Adjustment and Retraining Notification
                      Act) or pursuant to any agreement (except unemployment benefits
                      payable in accordance with state law), your benefits under the Plan will
                      be reduced by the amount of such other payments paid or payable. You
                      must notify the Administrator if you receive or are claiming to be
                      entitled to receive any such payment(s).




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                                       APPENDIX A

                      ALLOY ENTERTAINMENT, LLC
                      BLUE RIBBON CONTENT INC.
                      Burbank Television Enterprises LLC
                      Cable News International, Inc.
                      DC COMICS
                      DCE Creative Group LLC
                      E.C. Publications, Inc.
                      Ellation, LLC
                      Entertainment Merchandise NY, Inc.
                      Fullscreen, LLC
                      GTC Management Services Inc.
                      HBO Digital Services, Inc.
                      HBO Home Entertainment, Inc.
                      HBO Service Corporation
                      Home Box Office, Inc.
                      Machinima, Inc.
                      New Line Productions, Inc.
                      Rebel Post Inc.
                      Rooster Teeth Productions, LLC
                      Shed Media US Inc.
                      Stage 13 Inc.
                      Telepictures Productions Inc.
                      Turner International, Inc.
                      Turner Services, Inc.
                      Warner Bros. Digital Networks Labs Inc.
                      Warner Bros. Advanced Media Services Inc.
                      Warner Bros. Animation Inc.
                      Warner Bros. Consumer Products Inc.
                      Warner Bros. Digital Networks Inc.
                      Warner Bros. Distributing Inc.
                      Warner Bros. Worldwide Television Distribution Inc.
                      Warner Bros. Entertainment Inc.
                      Warner Bros. International Television Distribution Inc.
                      Warner Bros. Technical Operations Inc.
                      Warner Bros. Theatre Ventures Inc.
                      Warner Bros. Theatrical Enterprises LLC
                      Warner Bros. Home Entertainment Inc.
                      Warner Horizon Television Inc.
                      WarnerMedia Services, LLC
                      Warner Media, LLC
                      WB Games Boston Inc.
                      WB Games Inc.
                      WB Studio Enterprises Inc.
                      WCI Global Business Services Inc.
                      You I Labs (US) Inc.
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